                5:18-cv-00559-JMC                Date Filed 09/29/20      Entry Number 168          Page 1 of 1

AO 450 (Rev. 01/09) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      District of South Carolina


                 Phillips and Jordan, Inc.,
                          Plaintiff                               )
                             v.                                   )       Civil Action No.     5:18-cv-00559-JMC
                                                                  )
 McCarthy Improvement Company, Western Surety                     )
                  Company,                                        )
                 Defendants

                                                 JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 O the Plaintiff recover from the Defendants damages in the amount of Three Million, Three Hundred Forty-Four
Thousand, One Hundred Seventy-Four and 60/100 dollars ($3,344,174.60), plus postjudgment interest at the rate of
.12 %.
 O other: judgment is entered in favor of the Plaintiff Phillips and Jordan, Inc. on its claims for (1) Breach of Contract,
 (2) Violation of South Carolina’s Prompt Pay Act, (3) Recovery of Attorney’s Fees and Interest for Improvement of
 Real Estate, and (4) Breach of Payment Bond against Defendant McCarthy Improvement Company, as well as (1)
 Recovery of Attorney’s Fees and Interest for Improvement of Real Estate and (2) Breach of Payment Bond against
 Defendant Western Surety Company. It is further order that Defendant, McCarthy Improvement Company take nothing
 of the Plaintiff as to their Counterclaim for Breach of Contract.

This action (check one):
O came to hearing before the court, The Honorable J. Michelle Childs, United States District Judge presiding. The
Court having made its Findings of Fact and Conclusions of Law in favor of the Plaintiff.


Date: September 29, 2020                                                 CLERK OF COURT


                                                                                             s/Angie Snipes
                                                                                   Signature of Clerk or Deputy Clerk
